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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


MELITA WILLOUGHBY

v.                                                       3:14CV608(JCH)

YALE UNIVERSITY

                                        JUDGMENT

       This matter came on for trial before a jury and the Honorable Janet C. Hall,

United States District Judge. On June 23, 2016, after deliberation, the jury returned a

verdict in favor of the defendant, Yale University, against plaintiff, Melita Willoughby.

       Therefore, it is hereby ORDERED, ADJUDGED and DECREED that judgment is

entered for the defendant, Yale University, against plaintiff, Melita Willoughby, and the

case is closed.

       Dated at New Haven, Connecticut, this 23rd day of June, 2016.

                                                  ROBIN D. TABORA, Clerk


                                                   By /s/ Diahann Lewis
                                                          Deputy Clerk
Entered on Docket 6/23/2016
